               IN THE COURT OF CRIMINAL APPEALS
                           OF TEXAS
                      NOS. WR-90,618-04, WR-90,618-05 &amp; WR-90,618-06


                       EX PARTE MOHSIN MAZHAR SYED, Applicant


                  ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
                     CAUSE NOS. CR49672-B, CR49872-B, &amp; CR49396-B
                 IN THE 238TH DISTRICT COURT FROM MIDLAND COUNTY



        KELLER, P.J. filed a dissenting opinion in which YEARY and KEEL, JJ., joined.

                                     DISSENTING OPINION

        Applicant seeks to have three convictions reconsidered in light of Ex parte Lewis.1 In Lewis,

Weldon Ralph Petty, Jr., participated as a prosecutor in the defendant’s case while also working as

a law clerk on other defendants’ cases for judges in Midland County. In some ways, Applicant’s

situation is like Lewis, but it differs from Lewis in three significant respects. First, Petty participated

in only one of Applicant’s cases. Second, in the case in which Petty participated, that participation

was limited to addressing the question of the admissibility of extraneous offenses. And third, the


        1
            688 S.W.3d 351 (Tex. Crim. App. 2024).
                                                                                           SYED — 2

trial judge ruled against the State on that question, finding the extraneous offenses to be

inadmissible. I would hold that Petty’s limited participation in one of Applicant’s cases fails to show

judicial bias against Applicant in violation of due process.

                                         I. BACKGROUND

       Applicant had three sexual assault cases pending. One of those cases was tried to a jury.

During trial, the trial judge called Petty to the courtroom to advise on whether certain extraneous

offenses were admissible at the guilt stage. Petty had no involvement in the case before that point,

but the prosecutors and the defense attorneys agreed to allow him to speak on the extraneous-offense

issue.2 We do not know what position Petty took on the issue,3 but the trial judge ruled against the

State, finding the extraneous offenses inadmissible.4 Petty had no further involvement in the case.

A jury found Applicant guilty.

       After the verdict, the parties reached a sentencing agreement. Applicant pled guilty in the

two remaining cases and received concurrent twelve-year sentences on each of the three cases.


       2
          In an affidavit in connection with Applicant’s -06 application, Petty said that he had
nothing to do with Applicant’s case other than to address the extraneous-offense issue in open court.
The habeas court found Petty’s affidavit regarding his limited participation in the case to be credible.
       3
         A portion of the court reporter’s record of trial proceedings included in the -03 application
record suggests that the discussion might have been in an off-the-record conference.
       4
           Petty’s affidavit stated that the trial judge ruled in Applicant’s favor on the extraneous
offense issue. Petty’s affidavit stated that he did not remember what he said on the issue but that he
reasonably believed, in light of the trial judge’s ruling, that his comments were favorable to
Applicant’s position. Affidavits from Applicant’s defense attorneys in the -03 application also
support a conclusion that the trial judge excluded the extraneous offenses. Rodion Cantacuzene, Jr.,
said, “[I]f the court had allowed the jury to hear the extraneous offenses, then the cross examination
of the complainant would have been very different.” Dan Cogdell also said that “the door to the
substantial trough of extraneous conduct would have been opened” if the defense had cross-
examined the complainant differently and such door-opened evidence would have been “draconian
evidence which we successfully had theretofore excluded.”
                                                                                           SYED — 3

                                           II. ANALYSIS

        The Supreme Court has determined that due process can be violated by a judge presiding over

a case: (1) when the judge has a financial interest in the outcome of the case, or (2) when the judge

has a conflict of interest.5 When a judge has a financial interest or a conflict of interest in a case,

the issue is whether, “under a realistic appraisal of psychological tendencies and human weakness,

the interest poses such a risk of actual bias or prejudgment that the practice must be forbidden if the

guarantee of due process is to be adequately implemented.”6 The judge here had no financial interest

in these cases, so the only question is whether she had a conflict of interest based on Petty’s position

as “law clerk.”

        But the Supreme Court’s cases addressing judicial bias have involved interests (financial or

conflicting) that apply to an entire case.7 There, the complaining party has lost the case, and the

Court is having to look at whether an interest that applies to the entire case is weighty enough to

have created an unacceptable likelihood of having caused that loss. We are in uncharted territory in

addressing, for due process purposes, a conflict of interest that applies only to a discrete proceeding

within a case where the party who is supposedly adversely affected by the conflict prevails in that



        5
            Caperton v. A. T. Massey Coal Co., 556 U.S. 868, 872, 877 (2009).
        6
            Id. at 883-84.
        7
           See Williams v. Pennsylvania, 579 U.S. 1, 4 (2016) (“One of the justices on the State
Supreme Court had been the district attorney who gave his official approval to seek the death penalty
in the prisoner’s case.”); Caperton, 556 U.S. 868, 872 (2009) (An appellate “justice had received
campaign contributions in an extraordinary amount from, and through the efforts of, the board
chairman and principal officer of the corporation found liable for the damages.”); In re Murchison,
349 U. S. 133, 136 (1955) (“[T]he same judge presiding at the contempt hearing had also served as
the ‘one-man grand jury’ out of which the contempt charges arose.”); Tumey v. Ohio, 273 U.S. 510,
532 (1927) (pecuniary interest of mayor who decided case in the outcome of the case).
                                                                                         SYED — 4

discrete proceeding. Petty participated only in a discussion about extraneous offenses—essentially

a suppression hearing on that evidence. The trial judge then ruled in Applicant’s favor on the issue.

        I would hold that, on these facts, Applicant did not suffer a due-process violation due to

judicial bias. The only conflict of interest the judge could have had in Applicant’s cases was at the

extraneous-offenses suppression hearing in his first case. That was the only proceeding that Petty

participated in. And the “risk” of actual bias against Applicant in that proceeding is zero because

the trial court ruled in Applicant’s favor. It would be a different story if the issue were being

considered before the suppression ruling, when there might still be a risk that the judge’s ruling

would be unduly influenced in the State’s favor by Petty’s employment as a law clerk. But with the

benefit of hindsight, we know with 100 percent certainty that the State did not in any way benefit

from Petty’s participation in the proceedings. Of course, if the State had won at the suppression

hearing, then we would not be able to eliminate the probability or risk of actual bias from our

consideration. But because the State lost at this hearing, we can be confident that Petty’s

participation did not tilt the playing field in the State’s favor.

        And Petty did not participate in the two remaining cases at all. They were part of a package

deal, so if the claim in the first case had merit, we might have to decide whether the entire plea has

to be undone.8 I need not address that question because I conclude that Applicant is not entitled to

relief in the first case. I would deny relief on all three cases.

        I respectfully dissent.

Filed: August 21, 2024
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        8
            See Ex parte Cox, 482 S.W.3d 112, 114 (Tex. Crim. App. 2016).
